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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:
                                                        Chapter 11
                                     1
Lordstown Motors Corp, et al.,
                                                        Case No. 23-10831 (MFW)
                          Debtors.
                                                        (Jointly Administered)


             NOTICE OF AGENDA OF MATTERS SCHEDULED FOR HEARING
                       ON JANUARY 25, 2024 AT 10:30 A.M. (ET)




             AS THERE ARE NO MATTERS SCHEDULED FOR THIS HEARING,
               THE HEARING HAS BEEN CANCELLED WITH PERMISSION
                               FROM THE COURT.




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           The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown
Motors Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’
service address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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Dated: January 22, 2024
Wilmington, Delaware

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